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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

VERTICAL BRIDGE REIT, LLC, et al.            Case No. 2:23-cv-1017-WSH

      Plaintiff,                             Judge W. Scott Hardy

      v.

EVEREST INFRASTRUCTURE PARTNERS,
INC.; EIP HOLDINGS II, LLC,

      Defendants.


               VERTICAL BRIDGE’S BRIEF IN OPPOSITION TO
     EVEREST’S MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
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                                        INTRODUCTION
       Everest’s Motion to Dismiss Vertical Bridge’s Second Amended Complaint (the

“Complaint” or “Compl.”) is largely premised on a single, invalid proposition: In order to maintain

the secrecy of the financial information in its ground leases and thereby be entitled to trade-secret

protection, Vertical Bridge is required to execute separate, express, formal confidentiality

agreements at every stage of the ground-lease negotiation process. According to Everest, it does

not matter that three of the four types of executed ground leases at issue in Vertical Bridge’s

Complaint indisputably contain express confidentiality/non-disclosure provisions. Everest still

demands that Vertical Bridge’s Complaint be dismissed in its entirety because Vertical Bridge
does not allege that – in addition to express confidentiality provisions in executed leases (the very

provisions Everest induces landlords to breach to obtain Vertical Bridge’s financial information),

Vertical Bridge also secured express confidentiality agreements from the moment it or one of its

predecessors-in-interest began speaking to each landlord about the possibility of executing a

ground lease, and for each stage of the negotiation process that followed. Everest cannot support

its proposition with any case law, since it is axiomatic in trade secret law that only reasonable

measures are required to preserve secrecy – a requirement of multiple, overlapping express

confidentiality agreements is far from reasonable. It is not surprising that to even get this

proposition off the ground, Everest must brazenly mischaracterize this Court’s prior ruling, the

relevant case law, and the Complaint.
       In the Introduction to its Memorandum of Law in Support of Everest’s Motion to Dismiss

the Complaint at Dkt. 54 (“MTD Brief”), Everest cites as support for its invalid proposition the

following passage the Court’s Memorandum Opinion at Dkt. 44 (the “Memorandum Opinion”):

    [T]o the extent that the VB Plaintiffs have relied on their allegations of making requests
    to landlords to maintain confidentiality of offers or pricing and price structure terms in
    VB Contracts without arriving at any agreement to keep the information confidential, the
    Court cannot draw an inference of a confidentiality obligation. MTD Brief, at 1
    (Everest’s emphasis) (citing Memorandum Opinion, at 20 n.14).




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Everest then argues that Vertical Bridge’s entire Complaint must be dismissed with prejudice

because Vertical Bridge “still does not allege any instance—ever—where a landlord agreed to

keep Vertical Bridge’s offers confidential.” Id. (original emphasis). This argument – which is at

the heart of Everest’s entire MTD Brief – fails for at least three reasons.

       First, the argument is factually false. Vertical Bridge’s Complaint identifies four types of

at-issue ground leases, three of which contain express confidentiality/non-disclosure provisions to

which the relevant landlords obviously and unambiguously agreed when they executed the

legally enforceable contracts containing confidentiality/non-disclosure provisions. See Compl.,

at ¶¶ 83–86, 92, 98, 105, 109, 116, 123–24, 126–27. For these three types of leases – types 1–3 in

the Complaint – the lynchpin of Everest’s argument holds only if “reasonable measures” under

trade secret law demands more than express, written confidentiality/non-disclosure provisions and

requires that every step of the negotiation process from first approach through execution be

protected by a separate confidentiality agreement. The law is not so, as Everest’s MTD Brief

makes clear. Everest does not cite a single case to support such a legal requirement anywhere.

Indeed, in the same Memorandum Opinion footnote that Everest quotes to support its proposition

that multiple confidentiality agreements are always required for trade secret protection, this Court

unambiguously states that “[t]he Court does not mean to imply that confidentiality agreements

are always required ….” Memorandum Opinion, at 20 n.14 (emphasis added). Everest converts
“confidentiality agreements are not always required” to “an express, contractual confidentiality

agreement is never sufficient and will be invalid unless there are additional confidentiality

agreements.”

       Second, Everest ignores that the Court’s statement addressed specifically type 4 leases,

i.e., leases without confidentiality agreements. See Memorandum Opinion, at 20 n.14 (referring

to Dkt. 42, at 14 n.8 wherein Vertical Bridge counters an argument Everest made exclusively with

respect to leases without confidentiality/non-disclosure provisions). The Court’s statement does

not apply to the other three types of ground leases – ones with express confidentiality/non-
disclosure provisions – and Everest fails to provide any reason why it would. To the contrary, by


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signing these leases with express confidentiality/non-disclosure provisions, the landlords

necessarily agreed to the confidentiality/non-disclosure provisions contained within them.1

       Third, Everest’s argument violates the Rule 12 standard. Everest assumes facts that it does

not bother expressly alleging and which, even if it did allege, this Court could not accept as true

for purposes of a Rule 12 motion. For its claim, Everest attacks a strawman by focusing on “offers”

for ground leases, not the ground leases themselves. There is nothing before the Court that even

suggests, let alone establishes, that for any particular at-issue ground lease, there was an “offer”

not covered by a confidentiality agreement that had the same content as the financial information

in actual, fully-executed leases that are the subject of the Complaint. In fact, Everest makes up the

“offer” construct out of whole cloth and the Court should reject it out of hand.

       In sum, and as demonstrated in further detail below, Everest resorts to making up facts and

citing to misleadingly cherry-picked excerpts from its authorities2 – including this Court’s

Memorandum Opinion – to support the legally untenable argument at the heart of its MTD Brief.

Everest does get one thing right, however: this Court did give Vertical Bridge “clear instruction”

on how to amend its Complaint in a way that would clarify and bolster its trade secret allegations.

And Vertical Bridge has followed those instructions. The Complaint clearly identifies the four

types of ground leases at issue, provides concrete examples of each type, points to specific

provisions in each type that contain the at-issue trade secret-protected financial information, and
exhaustively identifies the reasonable measures Vertical Bridge takes to maintain the secrecy of

this information, both generally and type-by-type. Everest’s Motion to Dismiss should therefore

be denied in its entirety and the case should proceed to discovery.

1
  Moreover, even with respect to type 4 leases, Vertical Bridge’s Complaint alleges facts to support
the reasonable inference that even in the absence of a written confidentiality/non-disclosure
agreement, based on industry custom and practice, both Vertical Bridge’s predecessors and type 4
landlords kept the at-issue financial information secret. See Compl., at ¶¶ 64–66, 131–34; Dkt.
56, Declaration of Robert Paige (“R. Paige Dec.”) at ¶¶ 11–23.
2
  In the Introduction to its MTD Brief, Everest also offers partial quotes and citations to NOVA
Chems., Inc. v. Sekisui Plastics Co., 579 F.3d 319, 327 (3d Cir. 2009) and SI Handling Sys., Inc.
v. Heisley, 753 F.2d 1244, 1257 (3d Cir. 1985). Neither case supports Everest’s proposition.


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                 RESPONSE TO EVEREST’S “STATEMENT OF FACTS”

       Everest offers a “Statement of Facts” that isn’t any such thing. Rather, Everest uses this

section of its MTD Brief to make rhetorical hay out of the unremarkable fact that Vertical Bridge’s

Complaint has some changes from its previous complaints, as though Vertical Bridge should be

penalized for revisions made in response to the Court’s instructions and guidance in the

Memorandum Opinion. Vertical Bridge briefly addresses each of Everest’s points.

       In light of the Court’s Memorandum Opinion, Vertical Bridge left its Lanham Act claim

out of the Complaint pending further case developments: The Court dismissed Vertical Bridge’s

Lanham Act claim without prejudice, with leave to amend. However, in doing so the Court

indicated that Vertical Bridge’s allegations regarding Everest’s false statements to landlords had a

“future-looking or hypothetical framing” that the Court found problematic.             Memorandum

Opinion, at 14. Without discovery at this stage of the proceedings, Vertical Bridge does not

currently possess sufficient information to add further specifics to what it considers to be Everest’s

false statements to landlords. Vertical Bridge therefore dropped its Lanham Act claim, but

reserves the right to seek permission from the Court to reintroduce the claim at a later date if

discovery uncovers additional facts supporting such a claim.

       Vertical Bridge exercised its right of first refusal (“ROFR”) with respect to certain

Everest offers to landlords and waived its ROFR with respect to certain others because the offers
were “bona fide” as that term is properly understood: Everest’s attempt to support its argument

by reference to Vertical Bridge’s decisions on ROFRs is misleading at best. Tellingly, Everest

does not provide any explanation to the Court regarding the circumstances surrounding ROFRs or

the definition of a “bona fide” offer under the law. Vertical Bridge respectfully submits this

omission was intentional because a full understanding of ROFRs shows that Vertical Bridge’s

decision on whether to agree or reject ROFRs has nothing to do with whether Vertical Bridge’s

confidential financial information is entitled to trade secret protection.

       ROFRs are triggered by a “bona fide” offer from a third-party purchaser that a property
owner decided to accept. See Creque v. Texaco Antilles Ltd., 409 F.3d 150, 155 (3d. Cir. 2005)


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(“A right of first refusal to purchase real property is not triggered by the mere conveyance of that

property. Only when the conveyance is marked by arms’ length dealing and a change in control of

the property may that right be exercised.”); Niemuth v. Gaston, 688 S.W.3d 51, 56 (Mo. Ct. App.

2024) (“[A] right of first refusal … can only be exercised if two conditions are met: first, the right

of first refusal must be triggered by a bona fide and enforceable offer to purchase the property,

meaning an offer that is made honestly and with serious intent, and second, the owner of the

property must have decided to accept that third-party offer.”); In re Estate of Siedler, 135 N.E.3d

128, 135 (Ill. App. Ct. 2019) (“The term ‘third party purchaser’ is used at times in defining a right

of first refusal in lease agreements. In such situations, a bona fide offer from a third party means

an offer from a ‘stranger’ to the lease.”).

       As far as Vertical Bridge is presently aware, in each instance where Everest made an offer

to a Vertical Bridge landlord, this offer was a “bona fide” offer in that it was an arms’ length offer

from a third party that each landlord was ready to accept, subject to Vertical Bridge’s decision as

to whether to exercise the ROFR. As such, Vertical Bridge’s ROFR was necessarily triggered in

each case where Everest made a bona fide offer,3 and Vertical Bridge had only two options

available to it: it either had to exercise the ROFR on the same terms as the Everest offer or waive

the ROFR and accept Everest as its landlord. In some cases, Vertical Bridge chose the former

option and in some the latter, but neither entailed any waiver of trade secret protection. The fact
that Everest’s offers were based on misappropriated trade secrets did not render those offers non-

bona-fide for ROFR-trigger purposes. Conversely, the fact that these offers were bona fide, arms’

length offers to purchase a landlord’s property interests does not excuse or ameliorate the trade

secret misappropriation Everest engaged in to craft these offers.4

3
 Everest’s ROFR argument fails as a matter of trade secret law and ROFR law, but even if it did
not, it would only affect some of the at-issue ground leases/trade secrets. As alleged in the
Complaint, Everest has obtained trade secret-protected information in ground leases where it never
made an offer to a landlord or where it did but the landlord never accepted the offer, i.e., where no
Vertical Bridge ROFR was ever triggered.
4
  Everest’s argument in this section also implies the existence of a requirement that a party seeking
trade secret protection must declare a trade secret violation in some specific way (Everest doesn’t


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       Everest is in fact an illegitimate aggregator but spelling this out is not necessary for the

current version of the Complaint: Everest argues that because Vertical Bridge no longer includes

allegations expressly contrasting Everest’s unlawful conduct with that of “legitimate” aggregators,

Vertical Bridge somehow conceded either that there are no legitimate aggregators or that Everest

is a legitimate aggregator. MTD Brief, at 4–5. The discussion contrasting the behavior of

legitimate aggregators with Everest’s unlawful practices was largely in support of the Lanham Act

claim, which is absent from the Complaint for the reasons explained above.5 With respect to the

trade secrets claim, the contrast between legitimate and illegitimate aggregators only matters

insofar as legitimate aggregators, unlike Everest, do not misappropriate tower companies’ trade

secrets prior to making offers to landlords.6 Additional pleading on this point is unnecessary,

because the Court already rejected Everest’s argument that it is free to induce landlords to divulge

trade secret-protected information in ground leases merely because a (legitimate) aggregator can

obtain the legal right to this information by purchasing the ground lease rights. See Memorandum

specify how) prior to actually filing suit. No such requirement exists and, notably, Everest makes
no argument that Vertical Bridge is outside the statute of limitations for any of its claims.
Moreover, as Everest is well aware and as Vertical Bridge alleges in the Complaint, the parties
discussed Everest’s unlawful behavior more than a year before Vertical Bridge finally had to file
suit. During those discussions, Vertical Bridge specifically warned Everest that, in Vertical
Bridge’s view, Everest was behaving improperly vis-à-vis Vertical Bridge’s landlords and certain
of Everest’s offers, and Vertical Bridge was investigating Everest’s behavior. Vertical Bridge only
filed suit once it became clear that Everest was, inter alia, misappropriating Vertical Bridge’s trade
secrets and tortiously interfering with Vertical Bridge’s leases. See Compl., at ¶¶ 154–59.
5
  Vertical Bridge’s “legitimate aggregator” discussion was neither “non-credible” nor novel, as
Everest well knows. The contrast between the two is something that American Tower highlighted
in its pleadings against Tri-Star, which was owned and operated by the same people that now own
and operate Everest. See Tristar Investors, Inc. v. Am. Tower Corp., 2014 WL 1327663 (N.D.
Tex. Apr. 3, 2014).
6
  Citing to paragraph 60 of the Complaint, Everest argues that in order to determine whether a
potential acquisition is “consistent” with Vertical Bridge’s pricing model, Vertical Bridge must
“see[] the lease terms in advance.” MTD Brief at 5. In other words, Everest makes yet another
false assumption in its favor in concluding that Vertical Bridge must engage in the same unlawful
behavior as Everest. This is unsupported by the plain language of paragraph 60. In fact, Vertical
Bridge does what Everest should and seeks permission from the trade secret owner – subject to all
requisite confidentiality obligations – to review any trade secret-protected information. Nothing
in ¶ 60 or elsewhere in the Complaint supports any inference to the contrary.


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Opinion, at 22 n.15.

                                          ARGUMENT7

I.     VERTICAL BRIDGE ADEQUATELY PLEADED ITS TRADE SECRETS CLAIM
       PURSUANT TO THIS COURT’S INSTRUCTIONS
       Everest’s primary argument—that Vertical Bridge’s entire Complaint must be dismissed

because Vertical Bridge failed to allege that any landlords have agreed to maintain the secrecy of

the financial information for which Vertical Bridge claims trade secret protection, MTD Brief, at

6–9—fails as a matter of law and fact.

       In support of its erroneous argument, Everest claims that Vertical Bridge’s “third complaint
makes it clear that the supposed trade secrets have all, at one point or another, been in landlord

hands without any confidentiality obligations, and therefore cannot be trade secrets.” Id. at 7. As

support for this claim, Everest primarily quotes language from footnote 14 of the Court’s

Memorandum Opinion. Id.

       Everest’s characterization of this Court’s statement, however, is misleading in two ways.

First, in its quoting, Everest uses three stars by way of ellipses to elide the Court’s key qualifier

regarding confidentiality obligations:

     The Court does not mean to imply that confidentiality agreements are always required or
     that there are no instances in which a confidentiality obligation could be implied. The
     Supreme Court discussed how such implied obligations can arise in Kewanee Oil Co.
     wherein the Court explained that a trade secret holder might reveal his or her secret to
     employees or licensees with an “express or implied restriction of nondisclosure or
     nonuse.” 416 U.S. at 475 (discussing Ohio’s law of trade secrets). Memorandum
     Opinion, at 20 n.14.
     Second, and even more egregiously, Everest acts as if the Court’s statement in the quoted

passage from footnote 14 applies to all of the types of ground lease at issue, when it applies to just




7
 The Court is fully familiar with the Rule 12 legal standard, which appears in Vertical Bridge’s
prior briefing and the Court’s Memorandum Opinion. Vertical Bridge will therefore not waste
space reiterating it here.


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one.8 Everest even omits from its quotation the internal reference that makes this limitation clear.

In footnote 14, the Court addresses itself to a discussion in Vertical Bridge’s Opposition to

Everest’s second motion to dismiss regarding only those ground leases that do not contain

express confidentiality/non-disclosure language. See Memorandum Opinion, at 20 n.14; Dkt.

42, at 14 n.8; Dkt. 41, at 6.

        Everest’s two mischaracterizations of the footnote work in tandem: it is necessary to omit

the Court’s unambiguous statement that confidentiality agreements are not a sine quo non for

purposes of trade secret protection because with that statement in place it becomes utterly clear

that the rest of footnote 14 can only be a discussion of leases without confidentiality agreements.

        Restored to its complete form and placed in its proper context, footnote 14 instructs

Vertical Bridge to allege, if it can, the extent to which Vertical Bridge has maintained the secrecy

of the financial information in type 4 leases, given that these leases do not themselves contain

express confidentiality/non-disclosure provisions (which the Court makes clear is not dispositive

as to whether adequate secrecy has been maintained for trade secret purposes). In its Complaint,

Vertical Bridge complies with this instruction, alleging that it is industry custom and practice to

keep financial information in ground leases secret; that tower companies do their best to take all

available reasonable measures to maintain secrecy, especially with respect to competitors; and that

“Landlords are aware of their obligation to keep the Vertical Bridge Trade Secret Information
confidential, whether or not the Lease contains a confidentiality provision.” See Compl., at ¶¶ 53–

55, 131–134. Vertical Bridge also submitted the sworn declaration of its Executive Vice President

of Mergers and Acquisition, Robert Paige, a 35-year veteran of the tower industry, supporting

these allegations, and stating, inter alia, that “tower companies generally add the extra measure of

8
  The Complaint, taking its cue from the Court’s discussion in the Memorandum Opinion, refers
specifically to “types” of leases, goes into much greater detail than the First Amended Complaint
regarding each type, and provides examples. However, the types themselves are substantively the
same as in the First Amended Complaint – Vertical Bridge leases containing express
confidentiality/non-disclosure provisions, acquired leases containing express confidentiality/ non-
disclosure provisions, acquired leases that at one point did not contain such provisions but then
were amended to add them, and acquired leases without such provisions.


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safety of a confidentiality provision in a ground lease or license where possible. However, this is

just one measure among many that tower companies use to maintain the secrecy of their ground

lease/license financial information.” R. Paige Dec. at ¶ 19.9

       As for leases that do contain express confidentiality/non-disclosure provisions, Everest’s

claim that “Vertical Bridge does not allege that any landlord ever agreed to keep the ‘trade secrets’

in offers a secret” can be dismissed out of hand as both (a) factually false and (b) devoid of any

support in the law. MTD Brief, at 8.

       The claim is factually false because Vertical Bridge alleged that type 1 and type 2 leases

contain and have always contained express confidentiality/non-disclosure provisions. See Compl.,

at ¶¶ 80, 83, 92, 98, 105, 109, 116. By executing these leases, the relevant landlords necessarily

agreed to the confidentiality/non-disclosure provisions within them. And with type 3 leases, a

landlord’s subsequent execution of a lease amendment adding confidentiality/non-disclosure

language places that lease on the same footing as a type 1 or type 2 lease. Moreover, Vertical

Bridge alleged that “both before and after the amendment the landlords are aware of and

understand that they had an obligation to keep the pricing terms of the Leases confidential, whether

or not the Lease previously contained a confidentiality provision.” Id., at ¶ 126. Vertical Bridge

therefore does allege that, with respect to ground lease types 1–3, the relevant landlords have

agreed—and understand they have agreed—to keep Vertical Bridge’s ground lease financial
information secret.

       Everest’s claim also has no support in the law because it depends on the existence of a

requirement that a party, to maintain trade secret protection, must separately enter into express

9
  See Syncsort Inc. v. Innovative Routines, Intern., Inc., 2011 WL 3651331, at *16 (D. N.J. Aug.
18, 2011), where a court in this Circuit found that reasonable measures for trade secret purposes
were present in circumstances where, inter alia, “[i]t is standard industry practice to market
software through licensing agreements that impose confidentiality obligations on customers ... [A]
participant in the software development market could be deemed to have been aware at least of a
high probability that there was a confidentiality agreement protecting the software.” Here, it is
accepted custom and practice in the tower industry to treat all financial information within ground
leases as confidential, whether or not there is an express confidentiality/non-disclosure provision
in the ground lease.


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confidentiality agreements at every step of the contract negotiation process, even where the

contract being negotiated and which is ultimately executed contains express confidentiality/non-

disclosure language. There is, of course, no such requirement. Nor does a single case Everest

cites support its position. Indeed, this Court has rejected such a requirement, previously holding

that “the circulation of a matter alone is not sufficient to preclude trade secret protection if the

matter was circulated with at least an implied restriction.” Highland Tank & Mfg. Co. v. PS Intern.,

Inc., 393 F.Supp.2d 348, 354 (W.D. Pa. 2005); see also Advanced Fluid Sys., Inc. v. Huber, 958

F.3d 168, 179–80 (3d. Cir. 2020) (rejecting the argument that a “formal non-disclosure or

confidentiality agreement” was required for trade secret protection and finding that “even if the

Authority did not contractually bind itself to do so, it nevertheless believed it had an obligation to

preserve the confidentiality of AFS’s designs, and at all relevant times it conducted itself in a

manner consistent with that belief.”); VBS Dist., Inc. v. Nutrivita Lab., Inc., 811 Fed. App’x 10005,

1009 (9th Cir. 2020) (“Providing alleged trade secrets to third parties does not undermine a trade-

secret claim so long as the information was provided on an understanding of confidentiality” and

acknowledging this is so “even though no confidentiality appears in the written agreement between

that vendor and VBS”). Here, for each type of ground lease, Vertical Bridge alleged sufficient

facts that establish, at a minimum, an “implied restriction” on the landlords’ dissemination of

ground lease financial information. See Compl. at ¶¶ 83–86, 92, 98, 105, 109–10, 116, 123–27,
131–34, 139, 148. Moreover, Vertical Bridge alleged that all landlords for all four types of leases

understood their obligation to preserve the confidentiality of Vertical Bridge’s ground lease

financial information. See Compl., at ¶¶ 83, 109, 126, 133.

       Moreover, not only does Everest fail to offer any legal support for the notion that separate

express confidentiality/non-disclosure agreements must be signed in the course of negotiating, and

prior to the execution of, a contract containing an express confidentiality/non-disclosure provision,

but Everest also does not offer any evidence – or even any specific allegations – that any landlord

actually did not consider Vertical Bridge’s financial information to be secret. Everest also fails to
provide a shred of evidence, or even any specific allegations, that any of the financial information


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at issue in the Complaint is in the public domain or readily accessible to anyone, let alone to

Vertical Bridge’s competitors. See Advanced Fluid Sys., 958 F.3d at 180 (“conspicuously absent

from the record is any hint as to why, if AFS’s trade secrets were so readily obtainable …

Appellants felt it necessary to engage in a coordinated, clandestine campaign of tortious conduct

to obtain them.”); G&L Plumbing, Inc. v. Kibbe, 2023 WL 6881597, at *5 (D. Mass. Oct. 18, 2023)

(finding likelihood of reasonable success on the merits of a trade secrets claim in the context of a

motion for preliminary injunction where “there is no suggestion that the alleged trade secrets exist

elsewhere in the public domain”); Hertz v. Luzenac Grp., 576 F.3d 1103, 1114 (10th Cir. 2009)

(denying summary judgment motion where there was no evidence that a readily available public

source contained the identities of counter-plaintiff’s customers). And Everest fails to provide any

evidence that the financial information in any offers made to landlords is the same as the

information in the final, executed ground leases containing confidentiality/non-disclosure

provisions to which the landlords necessarily agreed when they executed the leases.

       For all of these reasons, Everest’s main argument for dismissal fails as to each ground lease

type. To the extent Everest’s main argument includes any type-specific variations, further specific

rebuttals are provided below.10

10
   Everest cites to a handful of cases in support of its main argument, each of which either stands
for an undisputed, general statement of trade secret law or is inapposite here. In Nova Chems., the
court does say that “the most important characteristic of a trade secret is that it is in fact secret” –
an undisputed truism – in the context of commenting that “four of [the] six factors [for determining
if something is a trade secret] are directed at gauging the secrecy of the information….” Nova
Chems., 579 F.3d at 327. Importantly, however, two sentences later the Nova Chems. court writes:
“[N]ot all disclosures will destroy a trade secret.” Id. And that of course is the point here: there
is no dispute that Vertical Bridge’s ground lease financial information is in the hands of the
landlords who are parties to the relevant ground leases, but that mere fact does not destroy Vertical
Bridge’s trade secret protection with respect to that financial information if it has taken reasonable
measures to keep the information secret. SI Handling affirmed the district court’s finding of trade
secret protection (on a completely different procedural posture – a motion for preliminary
injunction – and on a fully-developed factual record) for “costing and pricing information.” SI
Handling, 753 F.2d at 1260, 1263. It rejected trade secret protection for the identity of “alternate
suppliers of … bearings, and their respective prices” because those suppliers obviously knew their
own identity, knew their own prices, and had the right to sell their products in the market unfettered
from any restrictions. Id. at 1257. This bears no resemblance to the present case, where the at-
issue financial information is alleged to be secret as to everyone except Vertical Bridge and each


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       1.      Type 1 Leases11

       In seeking to distract the Court from the core fact that the type 1 lease landlords all

affirmatively executed leases containing express confidentiality provisions, and that Everest

misappropriated financial information by inducing breach of those very provisions, Everest objects

that Vertical Bridge’s designation of offer letters as “Privileged and Confidential” does not mean

landlords agreed to such designation. MTD Brief, at 9. That offer letter designation, however,

does not exist in a vacuum. It is coupled with industry practice, Compl. at ¶¶ 64–66, and the

landlords’ subsequent execution of express confidentiality provisions, id. at ¶¶ 83, 92, 98, 105,

giving rise to the inescapable inference that landlords understood and agreed to keep Vertical




individual landlord (with no landlord having access to the information in any other landlord’s
lease) and where most of the at-issue leases contain express confidentiality/non-disclosure
provisions. In Profit Point Tax Techs., Inc. v. DPAD Grp., LLC, the court dismissed plaintiff’s
trade secret claims after plaintiff admitted to disclosing its trade secrets to contractors and
customers but failed “to identify any specific measures it took to ensure individuals kept its
information secret….” 2020 WL 759952, at *6 (W.D. Pa. Jan. 29, 2020) (emphasis added). In
Elias, the court dismissed plaintiff’s trade secret claim without prejudice where plaintiff “d[id] not
allege any measures, such as conditioning access to [the] Information on non-disclosure, to ensure
that Plaintiff’s customers would keep [the] Information secret rather than sharing it with other
interested parties in the industry.” See Elias Indus., Inc. v. Kissler & Co., Inc., 2021 WL 2141509,
at *5 (W.D. Pa. May 26, 2012) (emphasis added). Vertical Bridge’s Complaint alleges detailed
specific measures, unlike the plaintiffs in Profit Point and Elias.
11
   Everest takes a shot in the MTD Brief at attempting to limit Vertical Bridge’s allegations to just
the sites corresponding to the examples that it attaches to its Complaint. See MTD Brief, at 9
(“Vertical Bridge … finally identifies sites on which it bases its allegations.”). Vertical Bridge’s
allegations encompass all of the sites corresponding to all of the ground lease financial information
that Everest has misappropriated, including sites presently unknown to Vertical Bridge. Vertical
Bridge included examples of specific leases that it already knows Everest misappropriated in
response to the Court’s instructions regarding providing additional detail and clarity regarding the
specific trade secrets at issue. See Memorandum Opinion, at 18–23; Oakwood Lab.’s v. Thanoo,
999 F.3d 892, 907 (3d Cir. 2021) (“Oakwood gave a very precise example by pointing to a
particular document and it specified the contents of that document as containing trade secrets. It
attached other documents specifying in detail secrets … that Oakwood accuses the Defendants of
taking and using. The Defendants here unquestionably are on notice of the trade secret information
that is at issue.”). But these examples are by no means exhaustive. Notably, the list of sites
Vertical Bridge is aware of is significantly larger than the eight sites Everest has falsely claimed
are the only ones at issue. Compare Dkt. 21, Exs. 1–8, with Compl. at Exs. C–H.


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Bridge’s financial information confidential, both before and after executing the leases.

       Indeed, although Everest further objects that Vertical Bridge includes its financial

information within draft leases it provides to landlords, MTD Brief, at 9, the confidentiality

provision that appears in the final agreement, to which the landlords have indisputably agreed,

likewise appears in the draft leases. As a result, the course of dealings pleaded here indicates

landlords are well aware, both before and at the time of reviewing the draft leases, that the financial

information is expected to be kept secret. See Memorandum Opinion, at 21–22 (citing Mazcon, a

Kurt Bros. Co., LLC v. BEG Grp. LLC, 2020 WL 4583867, at *3 (W.D. Pa. Aug. 10, 2020)

(“deciding a trade secret misappropriation claim was adequately pleaded where a purported

disclosure to a third party was merely a ‘preliminary confidential discussion . . .’ because the court

was required at the pleadings to ‘accept the classified nature of that communication as true.’”)).

               2. Type 2 Leases

       Everest’s argument on type 2 leases falls back on the same fallacies as its type 1 argument,

objecting to Vertical Bridge’s supposed failure to allege that its predecessors requested landlords

keep offer terms confidential.12 MTD Brief at 11. As explained above, the focus on offer terms

is a red herring, as there is no allegation (and Everest doesn’t even bother expressly asserting) that

any arguably non-confidential offer contains the same content as a final, executed ground lease

with a confidentiality/non-disclosure provision.         Furthermore, the express confidentiality
obligations contained in executed ground leases between predecessors and landlords, which

Everest ignores, see MTD Brief, at 12–13 and Compl. at ¶ 80, coupled with allegations regarding

standard industry practice and landlords’ understanding based on course of dealing, Compl. at ¶

109, demonstrate sufficient measures taken for trade secret protection of financial information

reflected in type 2 leases.

       Everest’s only additional argument in this section boils down to the erroneous contention

that because Vertical Bridge made an allegation in its Complaint “upon information and belief,”

12
   Everest makes a fuss about a typo in the Complaint at ¶¶ 109 and 132 wherein Vertical Bridge
referred to ¶¶ 60–62, but meant to refer to ¶¶ 64–65. See MTD Brief at 12.


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its claim to trade secret protection must be discounted entirely.13 MTD Brief, at 12. The allegation

in question, however, is concrete and grounded in Vertical Bridge’s “understanding of industry

practice.” Compl. at ¶ 109. And it is further supported by Mr. Paige’s sworn declaration filed in

support of Vertical Bridge’s Motion to Seal. See R. Paige. Dec. at ¶¶ 11–12 (“It is tower industry

practice to maintain the secrecy of ground lease financial information as much as possible, and to

keep such information from competitors”). Thus, contrary to Everest’s claim, the allegation at

issue is far from simply a “formulaic recitation of the elements of a cause of action.” MTD Brief,

at 12.

                3. Type 3 Leases

         Everest asks this Court, without citing any supporting authority, to “ignore” type 3 leases

altogether simply “because [Vertical Bridge] does not identify any instance where this has actually

happened.” MTD Brief, at 13. But, as alleged in the Complaint, Vertical Bridge does not yet

know the full scope of Everest’s ongoing misappropriation scheme. See Compl., at ¶¶ 158–59.

Conspicuously, Everest does not represent that it has not obtained any type 3 leases. It merely

suggests that Vertical Bridge does not know definitively whether Everest misappropriated leases

of this particular type. That is precisely what discovery is for.

                4. Type 4 Leases

         Everest’s argument on type 4 leases flies in the face of the Court’s prior refusal to find that
“confidentiality agreements are always required ….” Memorandum Opinion at 20 n.14. The Court


13
   In support of its argument, Everest confuses the holding in Minielly v. Acme Cryogenics, Inc. by
arguing that Minielly stands for the proposition that pleading “upon information and belief” is only
appropriate if the facts are solely within the defendant’s control. 2016 WL 12216040, at *7 (E.D.
Pa. Mar. 28, 2016). Not so. Minielly cites to Brinkmeier v. Graco Children’s Prods., Inc., 767 F.
Supp. 2d 488, 496 (D. Del. 2011), which explained that “pleading based upon information and
belief is permitted…when essential information lies uniquely within another party’s control;
however the pleading must still ‘set[] forth the specific facts upon which the belief is reasonably
based.’” See also Hollander v. Etymotic Research, Inc., 726 F. Supp. 2d 543 (E.D. Pa. 2010)
(same). Under this standard, Vertical Bridge’s allegation that its predecessors have taken
reasonable measures to safeguard their financial information, supported by specific facts relating
to industry practice, is sufficiently pleaded.


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should again decline Everest’s repeated invitation to adopt a rigid, legally erroneous requirement

of an express confidentiality provision as a prerequisite to trade secret protection. Under both

DTSA and PUTSA, there is no “one-size-fits-all” approach for reasonable measures to maintain

secrecy.14 Whether each trade secret holder employed reasonable measures to keep the trade secret

confidential will vary from case to case. See Warman v. Local Yokels Fudge, LLC, 2022 WL

17960722, at *11 (W.D. Pa. Dec. 27, 2022) (citations omitted) (“Courts have held that . . . ‘the

determination of whether a plaintiff’s efforts to maintain the secrecy of its alleged trade secrets

were reasonable is not a question susceptible of black-or-white analysis.’”). Although Everest

objects to the absence of a confidentiality provision in type 4 leases, it does not argue that Vertical

Bridge’s other measures to maintain secrecy were unreasonable under the circumstances or fell

short of tower industry standards. Indeed, Everest could not credibly make such a fact-intensive

argument on a motion to dismiss. Cichonke v. Bristol Twp., 2015 WL 1345439, at *13 n.19 (E.D.

Pa. Mar. 25, 2015) (“At the motion to dismiss phase, Defendants’ unsupported assertions cannot

contradict Plaintiff’s allegations in the Amended Complaint.”); Long v. Holtry, 673 F. Supp. 2d

341, 352 (M.D. Pa. 2022) (“[I]n deciding a motion to dismiss, the court is not here to weigh the

evidence; instead, the court must take Plaintiffs’ well-pleaded facts as true.”). Moreover, the

reasonable measures Vertical Bridge pleaded are exactly the kind of measures frequently found to

be sufficient for trade secret protection (including in the cases Everest cites), regardless of the
existence of confidentiality agreements. See, e.g., Oakwood Labs, 999 F.3d at 896 (finding that

plaintiff took reasonable measures to protect its trade secrets where plaintiff advised its employees

that its information must be held confidential, password protect edits electronically stored



14
   Courts have routinely found that confidentiality provisions are not required for trade secret
protection where other measures to maintain secrecy were reasonable. See Howmedica, 2022 WL
16362464, at *18–19 (D.N.J. Oct. 28, 2022) (whether plaintiff took reasonable measures to protect
secrecy was a question of fact where plaintiff only required non-disclosure agreements “at times”);
Swift Bros. v. Swift & Sons, Inc., 921 F. Supp. 267, 277 (E.D. Pa. 1995) (“The defendants assert
that the plaintiff had no confidentiality agreements…Such agreements are not necessary in every
case, however, if the other precautions taken by the plaintiff are sufficient.”).


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information, executed NDAs with its scientists, vendors, suppliers, and business partners, and

generally controlled access to its information).15
     II.     The Fact that Legitimate Aggregators May Gain Access to Vertical Bridge’s
             Trade Secrets Through Proper Means Does Not Destroy Trade Secret Protection
        Everest stamps its foot and insists that the Court reconsider the argument it already rejected

– that because Everest could purportedly acquire Vertical Bridge’s trade secrets through

“permissible means,” its acquisition through misappropriation should be excused. MTD Brief, at

16.16 Everest’s argument is akin to claiming that if someone steals a television that is otherwise

for sale, such conduct is not unlawful because the television could have been properly purchased
even if it was not in fact so acquired.

        This Court has already addressed and correctly rejected this argument:

     In addition to arguing that the VB Plaintiffs’ price terms and pricing structure cannot be
     protected trade secrets, Everest makes much of the idea that even according to the VB
     Plaintiffs’ vision of a legitimate and lawful tower aggregation scheme the price terms and
     pricing structure relevant to a particular VB Contract would eventually become known if
     such an aggregator was able to secure an agreement to be the intermediary between the
     landlord and a VB Plaintiff once the rent checks started to come in. […] Everest argues
     that this hypothetical with a so-called legitimate aggregator shows that the information
     asset in question is ‘readily ascertainable through proper means’ and thus not subject to
     trade secret protection. […] The Court is unconvinced. If the VB Plaintiffs had alleged
     specific protectable information that had been kept sufficiently secret to warrant
     protection, the reality that a VB Plaintiff’s agreement with another aggregator might give
     that tower aggregator access to such information would not necessarily destroy trade

15
   Everest also makes much of the fact that certain ground leases entered into by Vertical Bridge’s
predecessors have not yet been amended to add confidentiality language. MTD Brief, at 15. That
is immaterial where other reasonable measures for secrecy have been pleaded, especially given the
sheer volume of ground leases Vertical Bridge has acquired and continues to amend. Consistent
with Everest’s inappropriate habit of “draw[ing] inferences in Everest’s favor,” see Memorandum
Opinion, at 22 n.15, Everest claims that “the Court can only infer that it was not possible to
incorporate [confidentiality] provisions” in the type 4 leases “presumably because the landlords
refused.” MTD Brief, at 15. This is off base and inconsistent with Vertical Bridge’s well-pled
allegations, which contain no suggestion whatsoever that such amendments were rejected.
16
  Separately, this entire argument is predicated on allegations from a prior iteration of Vertical
Bridge’s Complaint and should be disregarded on that basis. See Consentino v. Wingard, 2017
WL 8941229, at *2 (W.D. Pa. Jan. 12, 2017) (rejecting defendant’s argument that plaintiff’s claims
should be dismissed based on allegations set forth in a previous filing).


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    secret protection by showing the information could be accessed through proper means.
    As the courts have explained, “not all disclosures will destroy a trade secret.” Nova
    Chemicals, Inc., 579 F.3d at 328. In the Court’s estimation, accepting Everest’s
    hypothetical readily-ascertainable-through-proper-means argument would require the
    Court to draw inferences in Everest’s favor which, of course, the Court may not do on
    Everest’s motion to dismiss.

Memorandum Opinion, at 22, n.15. Other courts in this Circuit have agreed with this Court in

finding that disclosure of trade secrets to certain parties does not destroy trade secret protection.

See, e.g., Mazcon, 2020 WL 4583867, at *3; see also Nova Chemicals, Inc., 579 F.3d at 328 (“not

all disclosures will destroy a trade secret.”).
        In the MTD Brief, Everest reiterates this same argument and complains that the Court got

it wrong because:

        The Court noted … that it was unconvinced … stating ‘the reality that a VB
        Plaintiff’s agreement with another aggregator might give that tower aggregator
        access to such information would not necessarily destroy trade secret protection.’
        […] Respectfully, Vertical Bridge never alleged agreements between VB Plaintiffs
        and ‘legitimate’ aggregators. To the contrary, Vertical Bridge alleged that the
        ‘legitimate’ aggregators reach agreement with landlords (just as Everest does).
        MTD Brief, at 17 (Everest’s emphasis).
Respectfully, it’s Everest who has both the facts and the law wrong here. Everest’s entire argument

is based on an unsupported hypothetical, not on Vertical Bridge’s allegations (certainly not any

allegations in the Complaint, or even on allegations in the previous complaints). Everest is
basically faulting this Court for misunderstanding its unsupported hypothetical and thereby not

drawing the inferences Everest wants.

        Putting aside the Rule 12 problem with this whole endeavor that the Court has previously

noted, Everest’s argument fails on the terms of its own hypothetical, which the Court understood

just fine. When legitimate aggregators acquire an interest in Vertical Bridge’s sites, they step into

the shoes of the landlords and assume the landlords’ contractual rights and obligations vis-à-vis

Vertical Bridge, including obligations to be bound by express contractual confidentiality

provisions requiring them to treat as confidential the trade secret-protected financial information
contained in the ground leases. So, as the Court properly observed, legitimate aggregators do


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absolutely enter into agreements with Vertical Bridge. Everest does as well in those instances

where Vertical Bridge declines to exercise a triggered ROFR, but only after it has already

misappropriated Vertical Bridge’s trade secrets.

       Moreover, Everest’s claim that legitimate aggregators acquire the trade secrets when “they

receive the rental stream from Vertical Bridge” undermines Everest’s entire argument, since

acquiring the trade secrets through the trade secret owner is consistent with trade secret protection.

See Ilapak, Inc. v. Young, 2020 WL 2787689, at *4 (E.D. Pa. May 29, 2020) (stating that

“confidential business information cannot be trade secret[] if [it is] easily or readily obtained,

without great difficulty, through some independent source other than the trade secret holder”)

(emphasis added). Thus, the fact that legitimate aggregators may acquire Vertical Bridge’s trade

secrets from Vertical Bridge after acquiring an interest in Vertical Bridge’s sites does not destroy

trade secret protection or allow aggregators like Everest to improperly acquire the trade secrets

without Vertical Bridge’s consent and before acquiring an interest in Vertical Bridge’s sites, as the

Court recognized. See Memorandum Opinion at 22 n.15.

       Additionally, Vertical Bridge has not only alleged that Everest misappropriated one or two

leases that include its trade secrets; rather, Vertical Bridge has alleged that Everest – not just an

aggregator but a competing tower company – is engaged in a nationwide scheme to misappropriate

Vertical Bridge’s confidential financial information in order to gain an advantage in the tower
industry competition for additional towers, and thereby for additional revenue and market share.

Compl., at ¶ 79. In some cases Everest succeeds in obtaining an interest in a Vertical Bridge site.

But in all cases Everest’s misappropriation advances its goal of obtaining as much of Vertical

Bridge’s financial data as it can so that it can steal Vertical Bridge’s propriety national pricing

model. See id. No individual landlord or legitimate aggregator has the ability or the interest to do

this: one or two or a handful of financial data points will not give insight into the model that

originated that financial data. But the more confidential ground leases Everest appropriates, the

closer it gets to hacking the model itself, which is its aim. See id.




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       Finally, and crucially, nowhere in its “readily-ascertainable-through-proper-means”

discussion either in the prior motion or in this Motion does Everest present any evidence or even

any specific allegations (again, putting aside the Rule 12 standard) showing how exactly it could

have obtained Vertical Bridge’s ground lease financial information from any source other than the

landlords whom Everest admitted it approaches and induces to divulge this information,

notwithstanding express confidentiality/non-disclosure provisions and industry custom/practice.

Everest obtains this information by misappropriating it. Legitimate aggregators obtain it by

entering into agreements that gives them the right to this information. Otherwise, as Vertical

Bridge has alleged: “Vertical Bridge’s Trade Secret Information is not generally known to the

public or readily accessible by the public using proper means.” Compl., at ¶ 171; see also

Advanced Fluid Sys., 958 F.3d at 180; G&L Plumbing, Inc., 2023 WL 6881597, at *5; Hertz, 576

F.3d at 1114.
    III.     Vertical Bridge’s Remaining Claims Do Not “Rise and Fall” With Its Federal
             Claims

       Contrary to Everest’s contentions, Vertical Bridge’s unjust enrichment, tortious

interference, and unfair competition claims do not rely solely on Everest’s trade secret

misappropriation, and so do not “rise and fall” with Vertical Bridge’s trade secret claims. Instead,

those claims relate to Everest’s misappropriation of Vertical Bridge’s confidential financial

information, whether or not that information rises to the level of trade secrets. Specifically:
     • Unjust Enrichment: Everest unjustly enriched itself by acquiring ground leases reflecting
       Vertical Bridge’s confidential financial information, and further appreciated the benefit of
       such information by using it to structure its offers to Vertical Bridge’s landlords. See
       Peterson v. Johnston & Rhodes Bluestone, Co., 2019 WL 3202166, at *2 (M.D. Pa. Jul.
       16, 2019).
     • Tortious Interference: Everest improperly interfered with Vertical Bridge’s ground leases
       by inducing the landlords to disclose information protected by confidentiality obligations
       (whether or not the information separately qualifies as trade secret) in Vertical Bridge’s
       ground leases with the landlords.
     • Unfair Competition: Everest improperly interferes with Vertical Bridge ground leases and
       wrongfully uses Vertical Bridge’s confidential financial information (whether or not trade
       secret-protected). See Tungsten Heavy Powder and Parts, Inc. v. Global Tungsten &
       Powders Corp., 2018 WL 3304550, at *3 (M.D. Pa. Jul. 5, 2018).



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Accordingly, Vertical Bridge adequately alleged each of the foregoing claims.

     IV.     No Further Parties are Required Under FRCP 19(a)(1)(B)(i)
       Everest once again takes the erroneous position that Vertical Bridge’s landlords are

necessary parties under Rule 19(a)(1)(B)(i). However, it is axiomatic that the plaintiff is “the

master of the complaint,” see Holmes Grp., Inc. v. Vornado Air Circulation Sys., 535 U.S. 826,

831 (2002), and Rule 19’s limited exception to the general rule that plaintiff can decide which

entities to sue has no applicability here.
       1.        Vertical Bridges’s Landlords Do Not Have an Interest Relating to the Subject
                 of the Action

       Everest incorrectly asserts that “[t]he core of Vertical Bridge’s trade secret claim is that

unidentified landlords breached their confidentiality obligations owed to Vertical Bridge by

disclosing lease terms to Everest.” MTD Brief, at 19. Not so. The core of Vertical Bridge’s trade

secret claim is Everest’s misappropriation of Vertical Bridge’s confidential financial

information.17

       Indeed, the cases that Everest cites to, unlike the present dispute, all involve claims directly

involving a third parties’ interests or liability. See, e.g., Glades Pharms., LLC v. Call, Inc., 2005


17
   Everest once again cites to Epsilon Energy USA, Inc. v. Chesapeake Appalachia, LLC, 80 F.4th
223, 233 (3d Cir. 2023) for support; however, Epsilon was inapposite the first time around and is
inapposite now. Epsilon involved several joint operating agreements with various oil and gas
companies, one of which was the defendant, and the parties and non-party signatories to the
agreements all had correlating rights and obligations under the agreements, such that the
defendant’s performance under the operating agreements directly impacted the non-parties’ duties.
Id. at 228. The defendant failed to perform under the operating agreements, and plaintiff brought
a breach of contract action against the defendant. The court found that the co-signatories to the
contract were necessary parties given the interplay between each party’s rights and obligations,
noting that “parties owning rights under disputed contracts, like the Absent [operating agreement]
parties, generally have a legally protected interest under Rule 19(a)(1)(B)(i).” Id. at 233. Unlike
Epsilon, however, the present dispute does not arise from a breach of contract claim, nor are the
contracts dispositive in determining Everest’s liability for misappropriation. Whereas disposing of
the action in Epsilon necessarily would have impacted the co-signatories’ rights under the contracts
at issue, here, the gravamen of the action is based on Everest’s misappropriation of Vertical
Bridge’s confidential financial information, which the landlords have no legally protected interest
in.


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WL 563726, at *1, *3 (E.D. Pa. Mar. 9, 2005) (copyright infringement action wherein the court

found that nonparty former employee was an “active participant” in the case, since the employee

“conspired with” defendant, and both the defendant and employee “actively concealed their

activities” from plaintiff); Lessel, Winkle, Yard, Inc. v. Advanced Telecommunications Network,

Inc., 1994 WL 263322, at *2–3 (E.D. Pa. June 10, 1994) (action wherein plaintiff sued to recover

amounts due under promissory notes issued pursuant to APA with defendant, in which

shareholders had a financial interest); Hearing Lab Tech., Inc. v. Hearing Instruments, Inc., 2017

WL 3208676, at *4 (W.D. Pa. July 27, 2017) (declaratory judgment action where plaintiff sought

to have the court “declare [the nonparty employee’s] employment covenants ‘void and

unenforceable’”); Spice Jazz LLC v. Youngevity Int’l, Inc., 2019 WL 4573705, at *3–4 (S.D. Cal.

Sept. 19, 2019) (finding that nonparty former employee was a necessary party where former

employee “hatched a scheme” to steal plaintiff’s business and bring it to defendant, the complaint

was “mostly centered on [nonparty employee’s] and Defendant’s conduct,” and the issues between

plaintiff and the nonparty employee were simultaneously “being litigated in arbitration”).

       Unlike the cases Everest cites, Salton, Inc. v. Philips Domestic Appliances and Personal

Care B.V. is similar the facts at issue here and is instructive of the Rule 19 standard in a trade

secrets dispute. See 391 F.3d 871 (7th Cir. 2004). In Salton, Plaintiff Philips and defendant Salton

were competing makers of kitchen appliances, and the intervening party, Electrical & Electronics
(“E&E”), was a Hong Kong firm that developed coffee machines for the parties. See Salton, 391

F.3d at 874. E&E contracted with Philips to manufacture a new coffee brewing machine, and the

contract restricted E&E from revealing any of Philip’s proprietary information used to develop the

machine. Id. at 874.

       However, E&E subsequently used Philip’s proprietary information to manufacture a

similar machine for Philip’s competitor, Salton. Id. at 875. Salton filed a declaratory relief action

against Philips, and Philips filed counterclaims alleging trade secret misappropriation and

copyright infringement. Id. at 875. The district court dismissed Salton’s complaint and Philips’
counterclaims, finding that E&E was a necessary party to the dispute but could not be joined. Id.


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Philips filed a separate action against Salton alleging the same claims, which the district court also

dismissed. The appellate court reversed.

        Recognizing the “fact-intensive and multifaceted character of the inquiry” of

indispensability under Rule 19, the appellate court found that the district court abused its discretion

in dismissing the parties’ claims, since E&E did not have a legally protected interest in the subject

of Philips’ action against Salton (despite E&E being a party to the contract obligating E&E to keep

Philips’ proprietary information confidential). The court explained that “Philips’s essential claim

in both suits [wa]s that Salton stole its intellectual property. The fact that Salton did so, Philips

contends, in cahoots with E&E, which acted in effect as the conduit between Philips’s intellectual

property and Salton’s competing coffee machine, would not in itself make E&E an indispensable

party to Philips’s suits.” Id. at 877. The court explained that the principle of joint and several

liability governs misappropriation of trade secrets, and under that principle, “the victim [of the

misappropriation] is not required to sue more than one of his oppressors.” Id. The court further

explained the practical consideration for the principle: “To require the victim of a joint tort to sue

all the joint tortfeasors would have the perverse effect of making it more difficult for plaintiffs to

obtain relief the greater the number of their tormentors by increasing the plaintiffs’ litigation

expense . . . .” Id.

          The court disagreed with the district court’s conclusion that “to prove misappropriation
by Salton, Philips will have to show that E&E broke its contract with Philips by revealing Philips’s

trade secrets to Salton without authorization.” Id. at 880. As the appellate court noted, “that is

true in any case of tortious interference with contract.” Id. “[T]here is no rule that you cannot sue

the interferer without also suing the party to your contract whom the defendant inveigled into

breaking the contract.” Id. Accordingly, the appellate court concluded that “there [was] no basis

for a finding that E&E [wa]s an indispensable party . . . .” Id. at 880; see also Alpha Pro Tech,

Inc., 984 F. Supp.2d at 459 (denying motion to dismiss under Rule 12(b)(7) and explaining that

“[t]he mere fact . . . that Party A, in a suit against Party B, intends to introduce evidence that will
indicate that a non-party, C, behaved improperly does not, by itself, make C a necessary party.”);


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see also id. at 458–59 (referencing Salton and noting that defendant’s argument “boils down to the

contention that to prove misappropriation,” plaintiff will need to show that a nonparty breached its

contract with plaintiff, but that was “insufficient to render th[e] absent party necessary under Rule

19(a)(1)(B)(i)”). Similarly, because (1) the gravamen of the dispute is Everest’s misappropriation

of Vertical Bridge’s confidential financial information and (2) the landlords do not have an interest

in the suit and are merely joint tortfeasors, the landlords are not necessary parties.

       2.      Proceeding without Vertical Bridge’s Landlords Would Not Impair or Impede
               the Landlords’ Ability to Protect Any Interest

       Because the landlords’ interests are not actually at stake, Everest cannot show that

proceeding without the landlords would impair or impede their ability to protect any interests.

“[T]he fact of the matter is that [plaintiff’s] allegations, taken as true, simply identify [the

landlords] as . . . joint tortfeasor[s] [with defendant].” Alpha Pro Tech, Inc., 984 F. Supp.2d at

458. Because Vertical Bridge’s landlords do not have a legally protected interest in the subject of

the action, Rule 19(b) fails to mandate their joinder, and the Court’s inquiry can stop there. See

Temple, 498 U.S. at 8.

       Even if the Court finds that the landlords have a legally protected interest here (it should

not), Everest’s argument to include the landlords is simply “an attempted end-run on the general

rule that the plaintiff gets to decide who among alleged joint and several tortfeasors to sue.” Alpha

Pro Tech, Inc., 984 F. Supp.2d at 458; see also Owens-Illinois, Inc. v. Lake Shore Land Co., Inc.,
610 F.2d 1185, 1191 (3d Cir. 1979) (“The fact that the absent person may be affected by the

judgment does not of itself require his joinder if his interests are fully represented by parties

present.”).

       Similar to the nonparties in the cases that Everest relies on, even if the landlords are found

to be necessary parties, they are not indispensable parties that are required to be joined. See, e.g.,

Glades Pharm. LLC, 2005 WL 563726, at *6 (finding that “dismissal for failure to join [former

employee] as an indispensable party [wa]s inappropriate” and it was “unclear that complete relief
could not be granted to [plaintiff] in [former employee]’s absence”); Spice Jazz, 2019 WL


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4573705, at *4–5 (declining to dismiss the claims under Rule 19 where nonparty former employee

who “hatched a scheme” with defendant was a necessary party, but was not indispensable). As

the Advisory Committees’ notes to Rule 19 plainly instruct, “a tortfeasor with the usual ‘joint-and-

several’ liability is merely a permissive party to an action against another with like liability.” See

Fed. R. Civ. P. 19, Advisory Committee’s Note to 1966 Amendments (emphasis added).

Accordingly, although Everest used Vertical Bridge’s landlords to misappropriate Vertical

Bridge’s confidential financial information, the landlords are merely permissive parties. Vertical

Bridge’s valid decision not to sue those landlords cannot doom its case against Everest.


                                          CONCLUSION

       In light of the foregoing, Vertical Bridge respectfully requests that the Court deny Everest’s

Motion in its entirety.


Dated: July 11, 2024                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 11, 2024, a true and correct copy of the foregoing was filed

electronically with the Clerk of the Court using CM/ECF system and will be served upon the

registered participants identified on the Notice of Electronic Filing.

                                                              _/s/ David R. Osipovich
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